                IN THE UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF MISSOURI
                             WESTERN DIVISION

UNITED STATES OF AMERICA,                     )
                                              )
                    Plaintiff,                )
                                              )
        v.                                    )   Criminal Action No.
                                              )   05-00344-01/02-CR-W-ODS
GARY EYE,                                     )
and                                           )
STEVEN SANDSTROM,                             )
                                              )
                    Defendants.               )

                MEMORANDUM OF MATTERS DISCUSSED AND
                 ACTION TAKEN AT PRETRIAL CONFERENCE

       Pursuant to the order of the Court en banc of the United States District Court for

the Western District of Missouri, a pretrial conference was held in the above-entitled

cause before me on April 7, 2008. Defendant Gary Eye appeared in person and with

appointed counsel John Osgood and Lance Sandage. Defendant Steven Sandstrom

appeared in person and with appointed counsel Charles Rogers and John Gromowsky.

The United States of America appeared by Assistant United States Attorneys David

Ketchmark, Mike Green, and Eric Gibson.

I.     BACKGROUND

       On September 29, 2005, an indictment was returned charging both defendants

with two counts of interference with federally protected activities, in violation of 18

U.S.C. § 245(b)(2)(B); one count of using or discharging a firearm during a crime of

violence, in violation of 18 U.S.C. § 924(c)(1)(A)(iii); two counts of using or discharging

a firearm during a crime of violence causing murder, in violation of 18 U.S.C. §§

924(c)(1)(A)(iii) and (j)(1); one count of tampering with a witness, in violation of 18




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U.S.C. §§ 1512(a)(1)(C) and (a)(3)(A); one count of obstruction of justice, in violation of

18 U.S.C. § 1519; and one count of using fire to commit a felony, in violation of 18 U.S.C.

§ 844(h)(1). In addition, defendant Steven Sandstrom is charged with one count of

threatening to retaliate against a federal witness, in violation of 18 U.S.C. § 1513(b)(2).

A superseding indictment was returned on May 17, 2006, adding notice of special

findings as to both defendants.

       The following matters were discussed and action taken during the pretrial

conference:

II.    TRIAL COUNSEL

       Mr. Ketchmark announced that he, Mike Green, and Eric Gibson will be the trial

counsel for the government. The case agents to be seated at counsel table are Special

Agents Arch Gothard and Heath Janke, Federal Bureau of Investigation. The

defendants object to the government having two case agents in the courtroom.

Defendant Eye has raised issues about Janke’s credibility and believes that Janke’s

presence in the courtroom will affect defendant’s cross examination of Janke. The

government has listed Special Agent Gothard on its witness list; however, it does not

intend to call Special Agent Janke as a witness. Defendant Eye has listed Special Agent

Janke as a possible defense witness.

       Mr. Osgood announced that he and Lance Sandage will be the trial counsel for

defendant Gary Eye.

       Mr. Rogers announced that he and John Gromowsky will be the trial counsel for

defendant Steven Sandstrom.




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III.   OUTSTANDING MOTIONS

       The following motions are pending for ruling by the district judge:

       1.    Motion to dismiss due to violation of 5th and 6th amendment right to

counsel, filed by Gary Eye on October 24, 2007 (document number 246); See also

supplemental motion, doc. #247; response, doc. #249; transcript of hearing, doc. #285;

Report and Recommendation, doc. #347. Objections to Report and Recommendation

were due April 1, 2008. No objections have been filed.

       2.    Motion to suppress due to illegal use of Rule 17(c), filed by Gary Eye on

November 26, 2007 (document number 265); See also response, doc. #282; transcript

of hearing, doc. # 286; Report and Recommendation, doc. #359. Objections to Report

and Recommendation are due April 14, 2008.

       3.    Motion in limine to exclude testimony of Eric Eymard and Justin

Buchanan, filed by Gary Eye on January 22, 2008 (document number 303). One third

of motion referred for R&R. See also response, doc. #282; transcript of hearing, doc.

#286; Report and Recommendation, doc. #359. Objections to Report and

Recommendation are due April 14, 2008.

       4.    Motion for reconsideration of Order granting [276] motion in limine as to

Gary Eye (1); granting in part and denying in part [227] motion in limine as to Gary Eye

(1); granting [261] motion in limine as to Gary Eye (1); granting in part and denying in

part [262] motion in limine as to Gary Eye (1); granting [263] motion in limine as to

Gary Eye (1); denying [271] motion in limine as to Gary Eye (1); denying [275] motion in

limine as to Gary Eye (1); granting [268] motion for order as to Steven Sandstrom (2);

granting [269] motion for order as to Steven Sandstrom (2); granting [270] motion in

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limine as to Steven Sandstrom (2) (doc. #345), filed by the United States on April 3,

2008 (document number 362).

       5.     Motion to have recorded conversations transcribed, filed by Steven

Sandstrom on April 7, 2008 (document number 367). Defense counsel indicated that he

does not currently have an estimate of how much this will cost or how long it will take to

have these telephone calls (recorded while defendants were incarcerated in the Jackson

County Jail) transcribed; however, Mr. Gromowsky stated that he would get this

information and pass it on to the court.

       6.     Ex parte motion for mitigation budget, filed by Steven Sandstrom on May

9, 2007 (document number 224).

       I provided this list to counsel on April 7, 2008, with directions to notify the court

if there are any motions pending which are not on this list. Today date, no one has

indicated that there are additional motions pending.

       Additionally, document number 356 remains pending, a motion for transcripts.

The transcripts that already exist are being copied and the hearings which were not

transcribed have been sent to the transcriptionist. Copies of all of the transcripts

requested will be sent to defense counsel by April 15, 2008. Therefore, that motion,

although pending, is being resolved and can be termed by early next week.

IV.    TRIAL WITNESSES

       Mr. Ketchmark announced that the government intends to call 40 to 50 witnesses

with stipulations during the trial. He stated that the government may be able to reduce

that number to 35 to 40.




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       Mr. Osgood announced that defendant Gary Eye currently intends to call 23

witnesses during the trial; however, once the trial plans are revised (by the end of this

week), he may reduce that number to 15 to 20 witnesses. The defendant may testify.

       Mr. Rogers announced that defendant Steven Sandstrom intends to call 9 to 10

witnesses during the trial. The defendant may testify.

V.     TRIAL EXHIBITS

       Mr. Ketchmark announced that the government will offer approximately 100 to

110 exhibits (some with sub-categories) in evidence during the trial. The government

will file its proposed exhibit list by the end of the week.

       Mr. Osgood announced that defendant Gary Eye will offer approximately 5

exhibits in evidence during the trial.

       Mr. Rogers announced that defendant Steven Sandstrom currently anticipates

offering no exhibits other than what is on the government’s exhibit list but may offer 1 to

2 exhibits in evidence during the trial.

VI.    DEFENSES

       Mr. Osgood announced that defendant Gary Eye will rely on the defense of

general denial.

       Mr. Rogers announced that defendant Steven Sandstrom will rely on the defense

of general denial.

VII.   POSSIBLE DISPOSITION

       Mr. Osgood stated this case is definitely for trial. Mr. Rogers stated this case is

definitely for trial.




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VIII. STIPULATIONS

       Stipulations are likely as to chain of custody.

IX.    TRIAL TIME

       Counsel were in agreement that the guilt phase of this case will take

approximately 7 to 11 days to try (4-6 days for the government’s case, 2-3 days for Gary

Eye’s case, and 1-2 days for Steven Sandstrom’s case). In addition, counsel believe voir

dire will likely take 2-4 days.

X.     EXHIBIT LIST, VOIR DIRE AND INSTRUCTIONS

       Stipulations and Orders were filed January 11, 2006 (doc. #40) and July 31, 2006
(doc. #163).

       The United States will file its proposed exhibit list by the end of this week.
Defendant Gary Eye filed his proposed exhibit list on December 2, 2007 (doc. #280).
Defendant Steven Sandstrom has not filed a proposed exhibit list. Mr. Rogers stated
that currently defendant Sandstrom does not intend to offer any exhibits; however, if he
decides to list exhibits, he will timely file a proposed exhibit list.

        Defendant Sandstrom filed his proposed witness list on April 8, 2008 (doc.
#372). No proposed witness list has been filed by Eye or the government. Counsel were
requested to file proposed witness lists by the end of the week. Although there are
proposed witness lists attached to proposed jury questionnaires, I instructed counsel to
file these lists as proposed witness lists so that the court will have ready access to them
by searching the docket sheet entries.

      The parties were instructed to file any proposed voir dire (in addition to the
general voir dire of the jury questionnaires) by the end of this week.

      The government was directed to file its proposed jury instructions by April 11,
2008. Defendants were directed to file their proposed jury instructions by April 15,
2008.




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XI.       UNUSUAL QUESTIONS OF LAW

          The following motions in limine have been filed: document numbers 227, 261,

262, 263, 270, 271, 275, and 276. All of these motions in limine were ruled by document

number 345.

          One motion in limine remains pending, document number 303 (see above,

section III.). In addition, there is a pending motion to reconsider document number

345, the order entered ruling on eight motions in limine.

          No additional motions in limine are anticipated. There are no unusual questions

of law.

XII. TRIAL SETTING

          All counsel and the defendants were informed that this case has a special setting

commencing April 22, 2008.




                                                   ROBERT E. LARSEN
                                                   U. S. Magistrate Judge

Kansas City, Missouri
April 9, 2008

cc:       The Honorable Ortrie Smith
          Mr. David Ketchmark
          Mr. Mike Green
          Mr. Eric Gibson
          Mr. John Osgood
          Mr. Lance Sandage
          Mr. Charles Rogers
          Mr. John Gromowsky
          Mr. Jeff Burkholder




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